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                            DISTRICT OF SOUTH CAROLINA
                          UNITED STATES BANKRUPTCY COURT


In re:                                                        Case No. 19-04578-dd

       Marvin Leon Blanding, Sr. and Eloise Stacey            Chapter 13
Blanding,

         Debtor.(s)

                              OBJECTION TO CONFIRMATION

            AutoMoney, Inc. (“Creditor”) a secured creditor in the above captioned case,
    through its undersigned attorney, files its Objection to Confirmation of the Debtors’ Plan
    (“Objection”), on these grounds:
                                            Statutory Basis
         1. This Court has jurisdiction of this proceeding under 28 U.S.C. §157(b)(2)(G).
         2. Venue is proper in this Court under 28 U.S.C. § 1408 and § 1409
         3. The statutory predicates for relief are 11 U.S.C. § 506, 1323, 1325; Federal Rules
    of Bankruptcy Procedure 3012, 3015; and Local Bankruptcy Rules 3015-1, 3015-2, 3015-
    3.
                                                Facts
         4. Creditor has a secured claim for $1,196.09 plus fees, costs, and other expenses in
    the above captioned case.
         5. Creditor’s claim is secured by a properly perfected lien against the Debtor’s
    vehicle a 2009 Kawasaki ZX1000e Ninja ZX10R Motorcycle (“Vehicle”).
         6. Through the Plan filed on August 30, 2019 (“Plan”), the Debtors are asserting the
    Vehicle has a value of $400.
         7. The proposed Plan attempts to pay Creditor $8.00 per month until the secured
    portion of the claim is paid in full.
         8. According to the Kelly Blue Book (“KBB”) value, the Vehicle has a current value
    of $5,0101 as a trade in value, which is typically lower than the retail value. See Exhibit A


    1
     A valuation was also conducted using NADA.com and the values ranged from $4,295 to
    $11,999.

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  attached.
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           9. The KBBContract
                       value      indicates that the Debtor(s) has/have undervalued
                              Number
                                                                                    Creditor’s
      PREPAYMENT: I f y u pay off early, the Finance Charge will be decreased. T h e r e is no Prepayment Penalty. T h e amount due on
  collateral
    prepaymentby   $4,610.
              will va d e p e n d i n g upon the unpaid principal balance at the time of prepayment.

     LOAN AGREEMENT ND SECURITY AGREEMENT: Y o u have requested a loan (the "LOAN") in the amount of the Amount Financed
           10. Debtors signed a financing contract which provided for Creditor to seek repayment
     stated above (the "Pr ncipal".) At your specific request, we, as LENDER, do hereby advance to you the Principal amount. To secure
     repayment of the Prin ipal amount and any and all accrued and/or unpaid Finance Charge (the "Interest") as set forth above, you
  of all costs or charges incurred by Creditor. An excerpt from the contract appears below
     have granted to LEN ER a security interest in your motor vehicle described above. Provided you do not default in the payment of any
     monetary sums due nder this Agreement or fail to fully perform pursuant to this Agreement, you may retain physical possession,
  and the full contract is attached as Exhibit B.
     ownership and use o the motor vehicle. However, should you default in any payment required hereunder, LENDER shall have the
     absolute right in addit on to any and all other remedies provided by law, foreclose upon the lien which may include the taking physical
     possession of the mo or vehicle regardless of where same may be located and thereafter liquidate the motor vehicle to fully cure and
     repay the (1) Principa amount advanced hereby, and all accrued, and unpaid interest pu 'suant to this Agreement, together with (2) all
     costs or charges incu red by LENDER in foreclosing upon the lien, including the repossession, sale, and/or liquidation of the motor
     vehic e.

     By execution hereof, ou as BORROWER, in the event of nonpayment or other default, expressly grant LENDER an irrevocable power

                                                                    Argument
     to act as your attorne -in-fact to execute any and all documents necessary to effectuate the liquidation of lender's lien, including the
     repossession, sale an /or liquidation of the motor vehicle by LENDER in satisfaction of its lien in accordance with this Agreement.
     You as BORROWER hall pay in cash to LENDER the amount set forth by the payment schedule above when due pursuant to the
           11. Creditor is objecting to the confirmation of the Debtors’ Plan because it proposes
     Promissory Note. A n notice that we as LENDER are required to provide you pursuant to the Agreement and/or the Uniform
     Commercial Code of e State of South Carolina will be deemed reasonable if sent to you at the address set forth by you above at least
  to under pay Creditor for its secured claim, and as such does not comply with 11 U.S.C. §
     (10) days before the vent with respect to which notice is required.

  1325(a)(5).
    BORROWERS REPR
    credit application and
                                SENTATIONS AND WARRANTIES: Yo u represent and warren. to us that (I) All information contained in your
                                ontained in this Loan Agreement and Promissory Note about you is true and correct. (II) You are the owner of the
     vehicle being pledged     and You hold a clear and unencumbered title to this vehicle. (III) You have disclosed all and any outstanding liens
           12. The Debtors’ valuation is lower than the actual market value of this Vehicle and
     that may be in proces      and would affect your ability to deliver a clear title to the vehicle to us. (IV) You will keep the vehicle free of any
     liens cr encumbrance        except for the security interest under this Agreement. ( V ) You are not a debtor under any proceedings in
  should not be accepted.
     bankruptcy, insolvenc       or reorganization and you have not filed nor had filed on your behalf a bankruptcy action within the past 90 days,
     and (VI) You have no      ntention to file a petition for relief under any chapter of the United States Bankruptcy Code o o r before paying this
           13. 11 U.S.C. § 506(a)(2) states that an allowed secured claim is allowed... “to the
     Loan Agreement and         romissory Note in full.                                                                       I' I N I T I A L

     DO NO- SIGN THIS AGREE    ENT BEFORE YOU HAVE READ IT OR IF I T CONTAINS ANY BLANK SPACES. YOU WILL RECEIVE A COMPLETE COPY OF THIS DOCUMENT.
  extent   of the value of such creditor’s interest in the estate’s interest in such property...”
    THIS IS A HIGH INTER ST LOAN. YOU SHOULD GO TO ANOTHER SOURCE IF YOU HAVE —HE ABILITY TO BORROW AT A LOWER RATE

           14. “Section 1325(a)(5)(B)(ii) requires the court to determine the value of property to
     OF IN—EREST. YOU A EPLACING YOUR VEHICLE AT RISK IF YOU DEFAULT ON THIS LOAN.

   Date:      04/22/2019                                                         I acknowledge the receipt of $ $800.00
  be distributed under the plan, as of the effective date of the plan.” 8-1325 Collier on
  Bankruptcy
  Borrowe-
             P 1325.06                                                           Co-Borrower


           15. Creditor asserts that the Debtors are not providing its “value” under the proposed
   Witness/Lender
  Plan.
   ITEMIZATION OF AMOU T FINANCED
           16. Because Plan,
  Check # Pay To             as drafted, does not comply with 11 U.S.C. § 1325(a)(5) it cannot
                          Amount
  19429 M a r v i n Blanding             $800.00
  19430 a dmv                        $15.00
  be confirmed.
           17. Additionally, Creditor is over-secured and will be filing a proof of claim for the
  amount owed, plus its reasonable attorney’s fees and costs. Those fees and costs should be
  included in any amended plan filed by the Debtors.
           18. Specifically, 11 U.S.C. § 506(b) provides for the allowance of an over-secured
  creditor to assert reasonable fees and expenses related to the collection of its claim.
              To the extent that an allowed secured claim is secured by property the
              value of which, after any recovery under subsection (c) of this section, is
              greater than the amount of such claim, there shall be allowed to the holder



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          of such claim, interest on such claim, and any reasonable fees, costs, or
          charges provided for under the agreement or State statute under which
          such claim arose.
          11 U.S.C. §506(b)
       19. Creditor asserts that under §506(b) and the language of the contract between the
  Debtors and Creditor, applying the costs related to filing this motion may be asserted
  against Creditor’s collateral. As such Creditor asserts that the Debtors must pay the value
  of the outstanding claim owed to Creditor, plus the reasonable costs and expenses related
  to this objection.
       20. Creditor further asserts there may be grounds for denial of the Plan because it has
  not been proposed in good faith. Based on the limited information provided by the Debtors
  and their counsel, there does not appear to be condition issues to the Vehicle which could
  justify the undervaluing of the Vehicle by 92%. Creditor asserts that the Debtors should
  have to explain how they valued the Vehicle at $400 as it does not seem supported by the
  values Creditor got from the same valuation sites available to the Debtors.
       WHEREFORE, Movant respectfully requests that after such notice and hearing as this
  Court deems appropriate, the Court deny confirmation of the Plan, and to award any
  additional relief as the Court may deem proper.




                                                   Markham Law Firm, LLC
  Date Filed: September 13, 2019
                                                     __/s/ Sean Markham
                                                    Sean Markham I.D. # 10145
                                                    Attorney for AutoMoney, Inc.
                                                    PO Box 20074
                                                    Charleston, SC 29413-0074
                                                    Tel: 888-327-0054
                                                    sean@markhamlawsc.com




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                                 LOAN AGREEMENT, PROMISSORY NOTE AND SECURITY AGREEMENT
 Borrower/Debtor's Name                                                             Co-Borrower's Name                                         Contract Number
MarvinLeon Blanding                                                             Eloise Stacey Blanding                                               7268
 Borrowar/Debtor's Address (Residence)City, State, Zip                                                                   Time Made              Date Made

70 habitatcourt Sumter, SC29153                                                                                          2:46:00 PM              04/22/2019
 IdentifitationTypeand Number                         Cell Phone                                   Work Phone                                        D.0.8
                                                                                                                                                         12/27/1970

 Creditor/Lender                                                       Address, City, State, Zip
AutoMoney,Inc. of Sum .er                                              200 North Lafayette Dr. Sumter, SC29150
      Year              Color           Make                                                                Model
 2009               Black                Kawk                                                               zx1000
Vehicle Ic*ntification Number          Title Certificate Number                                                                    License Number
JKAZXCE159A022437                        770430344550271                                                                            zf55946


 FederalTruth-in-LendingDisclosures
                            •
     ANNUAL                           FINANCE                        AMOUNT                        TOTAL OF                       Itemization of Amount Financed
    PERCENTAGE                                                       FINANCED                      PAYMENTS
                                      CHARGE                                                                                         $800.00
       RATE                                                                                                                   $    A       m    o    u       n       t     given to you directly
                                The dollar amount the credit      The amount of credit        The amount you wi I have
                                                               provided to you or on your     paid after you have made
The costof your credit as              will cost you.                    behalf.                   all payments as                 Amounts paid to Others on Your Behalf
     a yearly rate.                                                                                   scheduled.
                                                                                                                                       $15.00
                                                                                                                              $        D        M        V               for Lien Fee

         198.997%                       $1,112.66                       $815.00                        $1,927.66
                                                                                                                                       $0.00
                                                                                                                              $    A       m     o   u       n       t      Refinanced

 Maturity Date                   SECURITY: You are giving a security interest in your vehicle.
        04/22/2020               PREPAYMENT: You may pay your loan off early without a prepayment penalty.                    $ S e e Below t o Others
                                 See your contract details contained herein for an additional information
 Number cf Payments PAYMENTSDue MONTHLY                        Number/Amount of Payments                                               $815.00
                    Beginningon:                                                                                              $      T   o t             a       l        Amount Financed
           2           05/22/2019                                 11payments of $160.63 1 payment of $160.13


  APPLIABLE LAW, JU ISDICTION, VENUE: This Loan Agreement, Promissory Note and S curity Agreement (the "Agreements") are
  enter into by and be een Lender/Secured Party and Borrower/Debtor (the "Parties") in e state of South Carolina as of the above
  date, ubject to the to s and conditions set forth and any and all representations Borrow r has made to Lender in connection with
  these greements we made in South Carolina. As Lender is a regulated South Carolin consumer finance company and you, as
  Borro er, have entere into this Agreement in South Carolina, this Agreement shall be in erpreted, construed, and governed by and
  under e laws of the tate of South Carolina, without regard to conflicts of law, rules and principles (whether of the State of South
  Caroli a or any other j risdiction) that would cause the application of the laws of any juris iction, other than the State of South
  Caroli a. In the event hat any dispute, whatsoever arises between the Parties in relatio to or in any way in connection with the
  Agree ents (a "Dispu "), the Dispute shall be brought exclusively in the courts of comp ent jurisdiction located in the State of South
  Caroli a, and the excl sive jurisdiction of the state and federal courts located therein. Th Parties irrevocn con ent • jurisdiction
  and v ue in South C rolina and waive any argument as to forum non-conveniens.                                                 INITIAL


   PROMSSORY NOTE: orrower and Co-Borrower, jointly and severally, (collectively herei referred to as "BORROWER") promise to
   pay to ENDER, the P 'ncipal amount of the loan ( the Amount Financed), together with all interest, fees and charges due in
   accord nce with the p ment schedule listed above and all other charges that may becom due in accordance with the terms of this
   agree ent, until paid i full.

   INTERST: This is a Si ple Interest Loan, early payment will decrease the amount of the inance charge and late payment will
   increa e the amount of the finance charge. The contract interest rate as calculated in acc rdance with South Carolina Regulations is
        19 484 %    per ear.
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    PREPAYMENT: I f y u pay off early, the Finance Charge will be decreased. T h e r e is no Prepayment Penalty. T h e amount due on
    prepayment will va d e p e n d i n g upon the unpaid principal balance at the time of prepayment.

   LOAN AGREEMENT ND SECURITY AGREEMENT: Y o u have requested a loan (the "LOAN") in the amount of the Amount Financed
   stated above (the "Pr ncipal".) At your specific request, we, as LENDER, do hereby advance to you the Principal amount. To secure
   repayment of the Prin ipal amount and any and all accrued and/or unpaid Finance Charge (the "Interest") as set forth above, you
   have granted to LEN ER a security interest in your motor vehicle described above. Provided you do not default in the payment of any
   monetary sums due nder this Agreement or fail to fully perform pursuant to this Agreement, you may retain physical possession,
   ownership and use o the motor vehicle. However, should you default in any payment required hereunder, LENDER shall have the
   absolute right in addit on to any and all other remedies provided by law, foreclose upon the lien which may include the taking physical
   possession of the mo or vehicle regardless of where same may be located and thereafter liquidate the motor vehicle to fully cure and
   repay the (1) Principa amount advanced hereby, and all accrued, and unpaid interest pu 'suant to this Agreement, together with (2) all
   costs or charges incu red by LENDER in foreclosing upon the lien, including the repossession, sale, and/or liquidation of the motor
   vehic e.

   By execution hereof, ou as BORROWER, in the event of nonpayment or other default, expressly grant LENDER an irrevocable power
   to act as your attorne -in-fact to execute any and all documents necessary to effectuate the liquidation of lender's lien, including the
   repossession, sale an /or liquidation of the motor vehicle by LENDER in satisfaction of its lien in accordance with this Agreement.
   You as BORROWER hall pay in cash to LENDER the amount set forth by the payment schedule above when due pursuant to the
   Promissory Note. A n notice that we as LENDER are required to provide you pursuant to the Agreement and/or the Uniform
   Commercial Code of e State of South Carolina will be deemed reasonable if sent to you at the address set forth by you above at least
   (10) days before the vent with respect to which notice is required.

   BORROWERS REPR             SENTATIONS AND WARRANTIES: Yo u represent and warren. to us that (I) All information contained in your
   credit application and     ontained in this Loan Agreement and Promissory Note about you is true and correct. (II) You are the owner of the
   vehicle being pledged     and You hold a clear and unencumbered title to this vehicle. (III) You have disclosed all and any outstanding liens
   that may be in proces      and would affect your ability to deliver a clear title to the vehicle to us. (IV) You will keep the vehicle free of any
   liens cr encumbrance        except for the security interest under this Agreement. ( V ) You are not a debtor under any proceedings in
   bankruptcy, insolvenc       or reorganization and you have not filed nor had filed on your behalf a bankruptcy action within the past 90 days,
   and (VI) You have no      ntention to file a petition for relief under any chapter of the United States Bankruptcy Code o o r before paying this
   Loan Agreement and         romissory Note in full.                                                                       I' I N I T I A L

   DO NO- SIGN THIS AGREE    ENT BEFORE YOU HAVE READ IT OR IF I T CONTAINS ANY BLANK SPACES. YOU WILL RECEIVE A COMPLETE COPY OF THIS DOCUMENT.

   THIS IS A HIGH INTER ST LOAN. YOU SHOULD GO TO ANOTHER SOURCE IF YOU HAVE —HE ABILITY TO BORROW AT A LOWER RATE
   OF IN—EREST. YOU A EPLACING YOUR VEHICLE AT RISK IF YOU DEFAULT ON THIS LOAN.

Date:       04/22/2019                                                         I acknowledge the receipt of $ $800.00


Borrowe-                                                                       Co-Borrower



Witness/Lender

ITEMIZATION OF AMOU T FINANCED
Check # Pay To                      Amount
19429 M a r v i n Blanding             $800.00
19430 a dmv                        $15.00
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                                                ADDITIONAL TERMS and DISCLOSURES
THIS I A HIGH INTEREST LOAN. YOU SHOULD GO TO ANOTHER SOURCE IF VOL HAVE THE ABILITY TO BORROW AT A
       OWER RATE SF INTEREST. YOU ARE PLACING YOUR VEHICLE AT RISK IF YOU DEFAULT ON THIS LOAN.

 A. e c u r i t y : You g ve a security interest under South Carolina law in your vehicle and all parts and accessories which now or
        ereafter constit t o accessions to your vehicle and in all proceeds of such vehicle and accessions. T h e security interest
        ecures all obligations, which may become due under this Agreement.
 B. s e of Vehicle: You agree to keep the vehicle free of all delinquent taxes and liens, except the security interest under this
        greement, and not to use the vehicle illegally, improperly. or for hire. You agree not to make a material change in the vehicle
        r transfer any i terest in the vehicle. without our written consent. and not to subjec the vehicle to seizure by a law
        nforcement ag ncy. If we pay any lien, taxes or other amounts because you breaded your promise, we will provide you with
       easonable not t o the extent required by applicable law and you will reimburse us upon demand for any amounts so paid.
        lus the Financ= Charge thereon, calculated at the Annual Percentage Rate as disclosed in this Agreement from the date of
        ur payment unt I you repay us in full.
 C. n s u r a n c e : You agree to keep your vehicle insured in favor of us with a policy reasonably satisfactory to us for collision
        overage and c•mprehensive or fire, theft and combined additional coverage's in amounts not less than the unpaid sums
        wed under this a greement of the Insurable value of your vehicle, whichever is less A n y policy of insurance shall be endorsed
       o show us as a oss payee and shall provide that we receive not less than 10 days prior written notice of cancellation. Yo u
        gree that we c n use any proceeds from insurance to repair or replace your vehicle. If the unpaid amount owed on this
         greement has e e n lawfully declared due at the, at our option, we may instead apply the insurance proceeds to reduce what
        ou owe under t i s Agreement.
 D. i g h t to Reapp aise Collateral, Request Income information, and Duty to Inform About Change in Circumstances: The
      I a n amount est blished for your Account is based upon your income and upon the value of the Collateral. You further agree
         e have the righ t o reappraise the Collateral and/or demand proof of your current income from time to time upon reasonable
        otice. Yo u furt e r agree that we have the right to increase or lower your credit limit based upon the condition of the collateral
        nd/or your curr n t income. You agree to provide access to the Collateral at an agreed upon location during normal business
        ours and within a reasonable amount of time after demand. You further agree to immediately inform us of any significant
        hanges in your ircumstances regarding your income or the value or the condition of the Collateral, including but not limited to
        ny damage occ ruing to the collateral or any significant change in its mechanical cc ndition.

         eneral: You agree to pay us a returned check fee of $30 each time we accept a check from you. despite our not being under
        bligation to do -o, if such check is not honored for any reason: you shall bear the entire risk of loss or damage to the
        ollateral while it is in your possession, injuries arising from your operation of the col ateral, including but not limited to. all
         dgments, attor ey's fees, court costs and any other incurred expenses.
 F. o r r o w e r s Righ To Cure Payment: Borrower shall have twenty (20) days following notice of the right to cure a payment
        efault to cure a y missed payment before Lender accelerates payment of the entire loan. A l l notices will be sent to the
        ddress on file.
         cknowledgme t: Borrow acknowledges receipt of a completed duplicate of this Lcan Agreement, Promissory Note and
         ecurity Agreem nt and the Additional Terms and Disclosure Statement before sigring it, a copy of South Carolina's
         onsumer Right Handbook, Lender's Privacy Policy. Each Borrower has read, understands and agrees to the terms and
          nditions set fo h above and herein.
 H. u t h o r i z a t i o n t Verify Information
        ou authorize us and our agents to verify the information about you contained in your credit application or contained in this
      I stallment Note hrough any source.

       ssignment:          AutoMoney, Inc. of Sumter       (LENDER) may assign or transfer this Agreement or any right hereunder.
        ur obligation u der this Agreement cannot be assigned to a third party without pricr written consent from LENDER .
        u hereby agre o report any name, address, or telephone change immediately to A u t o M o n c y , Inc.. of Sumter
                               7    7

          roweN                                       Co-Borrower N r. e l f t ) ( a i 4 ,                  04/22/2019


         tness/Lender
